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 6   Attorney for Defendant
 7   GARRET GRIFFITH GILILLAND, III
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                       CR. No. S-08-376 EJG
13                            Plaintiff,             STIPULATION AND ORDER TO RE-
14                                                   SET SENTENCING HEARING AND
                   v.                                DISCLOSURE SCHEDULE
15
16   GARRET GRIFFITH GILILLAND, III
     ,
17
18                         Defendant.
19                                         STIPULATION
20          Mr. Gilliland is currently scheduled for sentencing on July 20, 2012.        The
21   parties, in consultation with Probation Officer Ronnie Preap, have stipulated and agree,
22   and propose to the Court the following:
23             1. The date for Judgment and Sentencing of July 20, 2012, be vacated.
24             2. That Mr. Gililland’s matter be set for Judgment and Sentencing on August
25                10, 2012, at 10:00 a.m.
26             3. And that the following schedule be ordered:
27
28



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 1         Reply, or Statement of Non-Opposition Due:                  08/03/2012
 2
 3         Motion for Correction of the Presentence Report
 4         Shall be filed with the Court and served on the
 5         Probation Officer and opposing counsel no later
 6         than:                                                       07/27/2012
 7
 8         The Presentence Report shall be filed with the Court
 9         And disclosed to counsel no later than:                     07/20/2012
10
11         Counsel’s written objections to the Presentence Report
12         shall be delivered to the Probation Officer and opposing
13         counsel no later than:                                      07/13/2012
14
15         The proposed Presentence Report shall be disclosed to
16         counsel no later than:                                      06/29/2012
17
18
19
     Dated: June 22, 2012                            /s/ David D. Fischer
20
                                                     DAVID D. FISCHER
21                                                   Attorney for Defendant
                                                     GARRET GRIFFITH GILILLAND, III
22
23
                                                     BENJAMIN B. WAGNER
24                                                   United States Attorney
25
26   Dated: June 22, 2012                    By:     /s/ David D. Fischer for
27                                                   RUSSELL L. CARLBERG
                                                     Assistant U.S. Attorney
28                                                   Attorney for Plaintiff



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 1                                      ORDER
 2
             For the reasons set forth in the accompanying stipulation of counsel, the Court
 3
     vacates Mr. Gililland’s currently scheduled date of July 20, 2012, for sentencing. The
 4
     Court orders the following schedule as to defendant Gililland in this case:
 5
 6
     Judgment and Sentencing Date:                                  08/10/2012, 10:00 a.m.
 7
 8
     Reply, or Statement of Non-Opposition Due:                     08/03/2012
 9
10
     Motion for Correction of the Presentence Report
11
     Shall be filed with the Court and served on the
12
     Probation Officer and opposing counsel no later
13
     than:                                                          07/27/2012
14
15
     The Presentence Report shall be filed with the Court
16
     And disclosed to counsel no later than:                        07/20/2012
17
18
     Counsel’s written objections to the Presentence Report
19
     shall be delivered to the Probation Officer and opposing
20
     counsel no later than:                                         07/13/2012
21
22
     The proposed Presentence Report shall be disclosed to
23
     counsel no later than:                                         06/29/2012
24
25
     IT IS SO ORDERED
26
27
     Dated: June 25, 2012                              /s/ Edward J. Garcia
28                                                     EDWARD J. GARCIA
                                                       United States District Court Judge


                                               -3-
